Case 18-55697-lrc   Doc 352   Filed 03/12/21 Entered 03/12/21 15:40:42      Desc Main
                              Document     Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: March 12, 2021
                                                  _____________________________________
                                                             Lisa Ritchey Craig
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:                      :     CASE NUMBER
                                       :
CASSANDRA JOHNSON LANDRY,              :     18-55697-LRC
                                       :
                                       :
                                       :     IN PROCEEDINGS UNDER
                                       :     CHAPTER 7 OF THE
      DEBTOR.                          :     BANKRUPTCY CODE

                                      ORDER

      On December 8, 2020, the Court entered an order (the “Order”) (Doc. 326) denying

Debtor’s Motion for Correction (Doc. 316) (the “Motion”).      In the Motion, Debtor

complained that S. Gregory Hays (the “Trustee”) had filed a notice of proposed

abandonment of Alliance for Change Through Treatment, LLC (“ACTT”) (Doc. 155) (the

“Notice”) that proposed to abandon ACTT without noting that it is a limited liability

company. In the Order, the Court found that there was no need to correct the Notice
Case 18-55697-lrc    Doc 352    Filed 03/12/21 Entered 03/12/21 15:40:42         Desc Main
                                Document     Page 2 of 3




because the “the Notice clearly stated that ACTT is a limited liability company rather than

a sole proprietorship and, therefore, was sufficient to put all parties on notice of the

Trustee’s intent to abandon the bankruptcy estate’s interest in ACTT.”

       On January 26, 2021, Debtor filed an “Objection” to the Order (the “Objection”,

Doc. 331). According to the Objection, the Court erred in stating that the Trustee filed the

Notice on February 5, 2019, when, in fact, the Trustee filed the Notice on February15,

2019. Debtor is correct that the Notice was filed on February 15, 2019. Accordingly, the

Court will amend the Order to state that the Trustee filed the Notice on February 15, 2019.

The Objection also asserts that the Court erred in stating that the Notice proposed the

abandonment of ACTT, when, in fact, it proposed the abandonment of certain real property.

The Notice proposed the abandonment of ACTT and other items of property that were not

of any apparent relevance to the Motion. Therefore, the Court did not specifically mention

all of the items of property listed in the Notice. The Order is not mistaken on that point.

        In the Objection, Debtor also insists that a notice of abandonment is not

“applicable” if it does not list the property with the same name and spelling as the property

is identified on Form 1 (Individual Estate Property Record and Report Asset Case Report),

which she indicates is attached to the Objection as Exhibit E. Exhibit E appears to be a

copy of the Notice, however. The Court believes that, by Form 1, Debtor is referring to

the Trustee’s Interim Report (Doc. 219) (the “Interim Report”). In the Interim Report, the

                                             2
Case 18-55697-lrc    Doc 352    Filed 03/12/21 Entered 03/12/21 15:40:42         Desc Main
                                Document     Page 3 of 3




Trustee identified Debtor’s interest in “Alliance For Change Through Treatment, 95%

ownership Abandoned per Notice, Docket # 155.” The Trustee filed the Interim Report

on July 29, 2019, which was after he filed the Notice. The Court fails to see how the failure

to identify ACTT as a limited liability company in the Interim Report renders the Notice

ineffective. To the contrary, the Court concludes that, pursuant to § 554 of the Bankruptcy

Code and Rule 6007 of the Federal Rules of Bankruptcy Procedure, the Trustee properly

abandoned any interest the bankruptcy estate had in ACTT.

       For these reasons,

       IT IS ORDERED that the Order is corrected to reflect that the Trustee filed the

Notice on February 15, 2019;

       IT IS FURTHER ORDERED that the Objection is DENIED in all other respects.

                                 END OF DOCUMENT

Distribution List

S. Gregory Hays                                  Herbert C. Broadfoot, II
Hays Financial Consulting, LLC                   Herbert C. Broadfoot II, PC
Suite 555                                        Buckhead Centre - Suite 555
2964 Peachtree Road                              2964 Peachtree Road, NW
Atlanta, GA 30305                                Atlanta, GA 30305

Cassandra Johnson Landry
P.O. Box 1275
Grayson, GA 30017



                                             3
